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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


     SHARYL THOMPSON ATTKISSON,
     et al.,

           Plaintiffs,

     v.                                               Civil Action No. 1:17-cv-364 (LMB/JFA)

     ERIC HOLDER, et al.,

           Defendants.


        NOTICE OF DEPOSITION OF VERIZON SECURITY ASSISTANCE TEAM
     PURSUANT TO RULE 30(b)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE

          Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

 Plaintiffs will take the deposition of a designated representative or representatives of Verizon

 Security Assistance Team (“VSAT”) beginning at 9:00 a.m. EST on December 18-19, 2017, at

 the offices of Motley Rice 401 9th St. NW, Suite 1001 Washington, DC 20004 and Osen LLC 2

 University Plaza, Suite 402 Hackensack, NJ 07601, or such other mutually agreeable location,

 continuing day to day thereafter until completed, upon cross-examination, before a duly

 authorized court reporter, notary public and video technician.

          Verizon Security Assistance Team is defined herein to include its predecessors,

 successors, subsidiaries, affiliates, employees, officers, directors and owners. As used below,

 “You” or “Your” refers to Verizon Security Assistance Team, and any of its representatives or

 authorized agents, employees, officers or directors.




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           Pursuant to Rule 30(b)(6), you are hereby commanded to produce for deposition one or

 more persons designated to speak for the agency or organization regarding the following specific

 topics:


                 1. The representative designated to speak for the corporation about Verizon’s
                 cyber security operations between 2010 and 2014. The inquiry will be limited to
                 the topic of the relationship between Verizon and the U.S. Intelligence
                 Community, including the FBI, CIA, NSA, or any other organization, person, or
                 group of individuals working with or for the U.S. government and/or its
                 intelligence community during the stated time frame, including details of the
                 relationship; the responsibilities of each; the scope of tasks; and any jobs, tasks, or
                 other programs aimed at or involving Plaintiffs’ home or business, or any
                 journalist located in the U.S.


                 2. The representative designated to speak for the corporation about ownership,
                 maintenance, control, and use of the following Verizon Internet Protocol version
                 4 (“IPv4”) and Internet Protocol version 6 (“IPv6”) addresses between 2010 and
                 2014; including, but not limited to, the following cyber-security, hacking,
                 malware, and/or unauthorized access incidents:

                 a. 70.106.238.107
                 b. 70.208.130.191
                 c. 96.241.87.96
                 d. 96.255.234.210
                 e. 108.18.98.113
                 f. 108.18.107.188
                 g. 108.45.139.237
                 h. 173.66.45.212
                 i. 173.73.91.181
                 j. 174.236.97.12
                 k. 174.252.112.169
                 l. 4870:f803:80fa:ffff:4870:f803:80fa:ffff

                 3. The representative designated to speak for the corporation about ownership,
                 maintenance, control, and use of United States Postal Service (“USPS”) IPv4 and
                 IPv6 address blocks assigned to Verizon under various contracts with the USPS
                 between 2010 and 2014; including, but not limited to, the following IP addresses:
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             a. 56.91.143.9
             b. 56.189.149.2
             c. 385b:8f09:80fa:ffff:385b:8f09:80fa:ffff
             d. 381b:7b09:80fa:ffff:381b:7b09:80fa:ffff

             4. The representative designated to speak for the corporation about Verizon FiOS
             service and maintenance calls carried out by Verizon, including Verizon
             authorized personnel, at Plaintiff’s residence, 22697 Hillside Circle, Leesburg,
             Virginia, 20175, between 2010 and 2014, including the purpose of the service or
             work; when the work or visit occurred; who was involved; who authorized the
             work; what was done; and all records having anything to do with the work,
             service call, maintenance, or reporting of the call or service, including any
             equipment or devices necessary for application at the residence.

             5. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving the
             segments of the USPS’s wide-area network that were managed by Verizon
             between 2010 and 2014.

             6. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving
             mobile satellite terminals provisioned by Verizon under contracts with the USPS
             between 2010 and 2014.

             7. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving the
             following mobile devices provisioned on Verizon Wireless networks between
             2010 and 2014; limited to incidents occurring in Washington, DC, Northern
             Virginia, and Phoenix, Arizona:

             a. Verizon MiFi 4510L mobile WiFi hotspots; and,
             b. Inmarsat BGAN mobile satellite terminals.

             8. Michael A. Mason

             9. Peter Trahon

             10. Todd Haskell

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                                 SUBPOENA DUCES TECUM

           Each representative is commanded to appear with the following records and
 information:

     1.     All records reviewed or considered as part of the process of preparing to speak for the
            corporation under Rule 30, including investigating or educating the witness to be
            prepared to speak for the corporation or agency.

     2.     A current resume or CV. If none is available, the portions of the representative’s
            personnel file that describes his or her background, experience, training, education,
            and job responsibilities.

     3.     All records that provide information about topics 1 to 10 above.



 Dated this 27th day of November, 2017.
                                                     Respectfully Submitted,

                                                     SHARYL THOMPSON ATTKISSON
                                                     JAMES HOWARD ATTKISSON
                                                     SARAH JUDITH STARR ATTKISSON

                                                     By Counsel

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of November, 2017, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 such filing (NEF) to the following counsel of record:

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